IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA

CHRISTINE BIROS,
Plaintiff,

Vs.

U LOCK INC., a Pennsylvania corp.

Defendant.
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Case No. 17 CJ 04886

U LOCK INC’S NOTICE OF
APPEAL

Filed on behalf of:

ULOCKINC., Defendant.

Counsel of record for this party

J. Allen Roth, Esq. (PA 30347)
805 S. Alexandria
Latrobe PA 15650

(724) 537-0939
lawmatters@yahoo.com
IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA
CHRISTINE BIROS, ) Case No. 17 CJ 04886
)
Plaintiff, )
)
vs. )
)
U LOCK INC., a Pennsylvania corp., )
)
Defendant. )

DEFENDANT U LOCK INC.'S
NOTICE OF APPEAL

Notice is hereby given that U Lock, defendant above named, hereby appeals to the
Superior Court of Pennsylvania from the orders entered in this matter on the 17th
day of May, 2022. These orders have been entered in the docket as evidenced by the
attached copy of the docket entries.

TRANSCRIPT: The parties already ordered and received the transcript from the

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) e L. (\ ,

| Allen Roth, Esq (PA 30347)
tae 5 Alexandria Street
Latrobe PA 15650

(724) 537-0939
lawmatters@yahoo.com

hearing that resulted in the Orders.

ATTORNEY FOR U LOCK INC.
 

 

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Case Information

Case# Caption
File
17CJ04886 CHRISTINE
BIROS
/INDIVID
VS.U
LOCK INC
Parties
Party Type Name
DEFENDANT DENNIS D
ATTY DEL COTTO
DEFENDANT J ALLEN
ATTY ROTH
DEFENDANT JOHNA
ATTY TUMOLO
DEFENDANT DENISE
SCHUR
/EXEC
DEFENDANT ALEX SCHUR
/ESTATE
DEFENDANT HENRY L
MOORE /CO
EXEC
PLAINTIFF WILLIAM E
ATTY OTTO
PLAINTIFF CHRISTINE
BIROS
AINDIVID
DEFENDANT SUSAN
STANO /CO

EXEC

Reference Judgment Filed Date Case

 

 

 

 

Amt Type/Subtype
Jan/24/2018 LIS
PENDENS
NEW FILE
Address
4345 OLD WILLIAM PENN HWY ,

MURRYSVILLE , PA, 15668

805 S ALEXANDRIA STREET , LATROBE , PA,
15650

437 GRANT STREET , PITTSBURGH , PA,
15219

8700 CLEVELAND ROAD, CRESTON, OH,
44217, USA

310 KEYSTONE COMMONS 35 WEST
PITTSBURGH STREET, GREENSBURG, PA,
15601, USA

PO BOX 701 , MURRYSVILLE , PA, 15668

435 MILLERS LANE, PLUM, 15239

31856 LAKE DRIVE, AVON LAKE, OHIO,
44012, USA

 

 
 

 

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DEFENDANT NICHOLAS
SCHUR
[ESTATE

DEFENDANT KATHLEEN S
WALTER
/EXEC

DEFENDANT MICHAEL
SCHUR
{ESTATE

DEFENDANT CYNTHIA
SARRIS
{ADMIN

DEFENDANT ANN SARRIS
/ESTATE

DEFENDANT U LOCK INC

INTERESTED SHANNI

3 RIDGE COURT, SARATOGA SPRINGS, NY,

12866, USA

14249 HILAND PLACE, IRWIN, PA, 15642, USA

14140 ROUTE 30, NORTH HUNTINGDON, PA,

15642, USA
14390 US RT 30, NORTH HUNTINGDON, PA,

 

 

 

PTY SNDER 15642, USA

Events

Action Action Description Action Name View :
Date

May/19/2022 RESPONSE

May/19/2022 NOTICE

May/19/2022 MOT/PET
CORRECT
CAPTION

Document

AND OBJECTIONS TO THE View
EXHIBITS FILED BY
‘CHRSTINIE BIROS

OF BANKRUPTCY View
DEFT ULOCKINCS MOTION Vie
TO CORRECT AND OR

STRIKE ERRONEOUS

CAPTION

May/19/2022 *NOTICE APPEAL *NOTICE APPEAL TO THE View

TO THE
SUPERIOR
COURT

SUPERIOR COURT

 

 
 

 

 

May/19/2022 PRO SE SHANNI SNYDER View
APPEARANCE
ENTERED BY

‘May/t 7/2022. ‘ORDER DENYING ORDER MAY 13 2022 DENIED View
WITH PREJUDICE NOTICE
GIVEN RULE N 236

 

May/1 7/2022 ORDER | ~ ORDER MAY 13 2022 WRIT OF View
POSSESSION ISSUED
NOTICE GIVEN RULE N 236

 

 

May/t 7/2022 ORDER ORDER MAY 3 2022 AS SET View
FORTH NOTICE GIVEN RULE
N 236
Apr/25/2022. BRIEF. IN. FOR ‘SANCTIONS View
OPPOSITION TO
MOTION
Apr/21/2022 PRELIMINARY DEFT U LOCK INCS View
OBJECTIONS PRELIMINARY OBJECTIONS

RAISING ISSUES OF FACT TO
THE PETITION FOR WRIT OF
POSSESSION

Mar/1 8/2022 ORDER | PENDING SUPRME COURT View
OF PA WESTERN DISTRICT

‘Mar/17/2022 EXHIBITS "IN SUPPORT OF PETITION TO View
STRIKE ORDER OF JANUARY
20 2022 AS SET FORTH

 

Mar/17/2022. MOTIPET STRIKE PETITION TO STRIKE ORDER View
OF JAN 20 2022 AS SET
FORTH

ee ane eee tee sa temnee dhe ees cette re mene enemas mn ee cae Sonne

Jan/24/2022 ORDER ~ “ORDER JANUARY 20, 2022 View
NOTICE GIVEN RULE N236

Aug/27/2021 *“MOT/PET STAY AND ORDER DATED AUGUST View
TAX SALE 27 2021 GRANTING STAY
RULE N 236 NOTICE SENT

May/08/2020 ORDER DENYING ORDER MAY 7, 2020 MOTION View
MOTION IS DENIED WITHOUT
PREJUDICE

 

 

 

 
 

 

Apr/13/2020 OBJECTIONS DEFTS OBJECTIONS TO. View
PLFFS INTERROGATORIES
REQUEST FOR ADMISSIONS
AND REQUEST FOR
PRODUCTION OF
DOCUMENTS IN AID OF
EXECUTION DIRECTED TO U

 

LOCK INC
“Mar/26/2020 BRIEF IN” TO DELIVER DEEDS TO PLFF View
OPPOSITION TO
MOTION
Mar/23/2020 ‘BRIEF IN “TO DELIVER DEEDS TO PLFF "View
SUPPORT OF
MOTION

 

Mar/23/2020 MOTION/PETITION MOTION TO DELIVERDEEDS Vie

 

TO PLFF
Feb/07/2020 NOTICESENT TO NOTICE SENT TO ALL
ALL COUNSEL & COUNSEL &
UNREPRESENTED UNREPRESENTED
PARTIES/PER PA PARTIES/PER PARA
RA
Feb/04/2020 SUPPLEMENT _ ORDER TO RULE 19252 View
Feb/04/2020 ORDER ~ ORDER PURSUANT TO RULE View
PURSUANT TO —-1925(A)
RULE 1925(A)
Jan/24/2020 BRIEF IN TO REQUIRE DEFT TO POST View
SUPPORT OF SECURITY
MOTION

Jan/24/2020 ‘STATEMENT “OF | ISSUES To BE RAISED ON View
PURSUANT TO APPEAL

RULE 1925 —
‘Jan/24/2020 BRIEF IN TO REQUIRE DEFT TO POST. View
OPPOSITION TO SECURITY PURSUANT TO
MOTION PARAP 1733 AND
OBJECTIONS TO THE
PROPERTY INSPECTION
PROCEDURE

 

 

 

 
 

 

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Jan/24/2020 VERIFICATION OF GEORGE SNYDER JRAS View
TO PLFFS MOTION TO
REQUIRE DEFT TO POST
SECURITY PURSUANT TO
PENNSYLVANIA RULE OF
APPELLATE PROCEDURE
1733

Jan/10/2020 MOTION/PETITION MOTION TO REQUIRE DEFT View
TO POST SECURITY

PURSUANT TO PARAP RULE
1733

Jan/1 0/2020 “MOTION/PETITION MOTION TO DIRECT DEFT TO lew
FILE A STATEMENT OF
ERRORS COMPLAINED OF
ON APPEAL PURSUANT TO
PARAP RULE 1925B AND
_ ORDER AS SET FORTH

Jan/06/2020 * JUDGMENT EO “ON COURT ORDER DATED View
DIE: JUDGMENT AUG 23, 2019 JUDGMENT .
ENTERED/NOTICE ENTERED NOTICE SENT

 

SENT
Jan/06/2020 “OPPOSITION “DEFT uU Lock INCS~ View
OPPOSITION TO MOTION TO
REQUIRE DEFT TO POST
SECURITY PURSUANT TO
PARAP 1733
Dec/20/2019 NOTICE APPEAL “NOTICE APPEAL FROM THE View
FROM THE SUPERIOR COURT
SUPERIOR
COURT
Dec/1 3/2019. “NOTICE APPEAL *NOTICE APPEAL TO THE View
TO THE SUPERIOR COURT
SUPERIOR
(COURT
Dec/09/2019 ‘OPINION AND OPINION AND ORDER iew
ORDER DECEMBER 6 2019 AS SET

PORTH N236

 

 

 
 

 

Nov/26/201 9 TRANSCRIPT OF

PROCEEDINGS

Oct/21/2019 BRIEF IN
OPPOSITION TO
POST-TRIAL
MOTION

Oct/4 7/201 9 ORDER
CONTINUING
HEARING

Oct/15/2019 BRIEF IN.
OPPOSITION TO

Sep/30/2019 BRIEF IN
SUPPORT OF
POST-TRIAL
MOTION

Sep/23/2019 BRIEF IN
SUPPORT OF
POST-TRIAL
MOTION

Sep/t 6/201 9 ORDER ORAL

ARGUMENT

Sep/1 3/2019 /MOT/PET POST-
TRIAL RELIEF

Sep! 1 3/201 9 ‘OBJECTIONS To
MOTION

TRANSCRIPTOF  =———Ss«Viw.
PROCEEDINGS

~ PURSUANT To PARCIV PROC View
227.1

‘OCTOBER 16 2019THE View
HEARING ON PLFFS MOTION

FOR POST TRIAL MOTION IS _
HEREBY CONTINUED TO

NOVEMBE 8 2019

PLAINTIFFS BRIEF IN View
OPPOSITION TO DEFENDANT

U LOCK INCS POST-TRIAL
MOTIOINS PURSUANT TO PA

R CIV PROC RULE 227.1

"PURSUANT To PARCIV PROC ‘View
RULE 227.1

RELIEF PURSUANT TO oy iew

PENNSYLVANIA RULE OF
CIVIL PROCEDURE 227.1

SEPTEMBER 13 2019 THAT View
THE ORAL ARUGMENT ON

THE MOTION FOR POST

TRIAL RELIEF IS SCHEDULED
OCTOBER 21 2019 N236

“MOTION FOR POST TRIAL View
RELIEF PURSUANT TO PAR
CIV PROC 227.1

OBJ ECTIONS TO DEFTS View
MOTION FOR POST TRIAL

RELIEF PURSUANT TO

_PARCIV PROG 227. 1

 

 

 
 

 

Sep/03/2019 “MOTIPET POST-

DEF MOTION FOR POST

 

 

WITHDRAW
PRELIMINARY

 

 

 

 

FILING BY THE COURT

OBJECTIONS

View
TRIAL RELIEF TRIAL RELIEF PURSUANT TO
PA RCP 227.1
“Aug/23/2019 ‘OPINION AND NON JURY TRIAL OPINION iew
ORDER AND ORDER AUG 22 2019 AS
TO PLFFS COMPLAINT
VERDICT IS HEREBY
ENTERED IN FAVOR OF PLFF
CHRISTINE BIROS AND
GAINSG DEDT U LOCK INC
ON COUNTS | AND If COUNT
. III OF PLFFS COMPLAINT Is
“Jun/04/201 9 NOTICE OF COMPLIANCE WITH View
ORDER OF COURT
‘May/20/2019 FINDINGS OF DEFTS PROPOSED FINDINGS. Vi WW
FACT AND OF FACT AND CONCLUSION
CONCLUSIONS OF OF LAW WITH PROPOPSED
LAW ORDER
May/17/2019 FINDINGS OF PROPOSED View
FACT AND
CONCLUSIONS OF
LAW
May/15/2019 TRANSCRIPT OF HEARD ON APRIL 29, 2019 | iew
PROCEEDINGS ©
May/06/2019 ORDER ORDER MAY 3, 2019 THAT | View
AMENDING THE CAPTION IS AMENDED
AS SET FORTH
‘Apr/30/201 9 “MOTIPET TRIAL AND ORDER APRIL 29, View
CONTINUANCE 2019 DENIED WITH
PREJUDICE
Apr/26/2019 PRAECIPE “AND ORDER ACCERPT FOR View

 

 

 
 

 

“Apr/26/2019 MOTION/PETITION. MOTION TO WITHDRAW
PRELIMINARY OBJECTIONS
AND ORDER APRIL 26, 2019
THAT THE PRELIMINARY
OBJECTIONS FILED ON
DECEMBER 1, 2017 ARE

<
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=

HEREBY DISMISSED WITH
PREJUDICE
Apr/26/201 9 CERTI FICATE OF OF THE ORGINAL ANSWER | View
SERVICE AND NEW MATTER FILED ON
APR 23 2019
‘Apr/26/2019 | RESPONSE - - PLFFS RESPONSE TO DEFTS. View
PLA NTIFF'S NEW MATTER
‘Apr/23/2019 “ANSWER AND ANSWER AND NEW MATTER "View -
NEW MATTER ©
‘Apr/04/2019 ‘SCHEDULING ORDER APRIL 3, 201 9 THAT A ‘View
ORDER ONE DAY NON-JURY TRIAL IS
SCHEUDLED ON APRIL 29,
201 9 N236
Apr/01/2019 “PRAECIPE ~ TO SET TRIAL DATE - View

Mar/29/2019 “MOTION/PETITION TO ENFORCE SETTLEMENT ” View |

Feb/25/2019 ANSWER “ANSWERS AND OBJECTIONS - View |
TO THE SECOND SET OF
INTERROGATORIES
REQUEST FOR ADMISSIONS
AND REQUEST FOR
PRODUCTION OF
DOCUMENTS DIRECTED TO

U LOCK INC
Jan/28/2019 ORDER ORDER THAT RULING ON View
PRELIMINARY SAID PRELIMINARY
OBJECTION OBJECTIONS IS DEFERRED
AS THE PARTIES PURSUE
SETTLEMENT AS SET FORTH
N236
Dec/07/2018 JUDICIAL MARSILI TO JUDGE | View

REASSIGNMENT MARSILI/SMAIL
FORM FROM

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Dec/07/201 8 MOTI PET
HEARING

Oct/1 2/201 8 RESPONSE - -
PLAINTIFF" Ss

Oct/01/201 8 AMENDED

Sep/21/2018 AMENDED
ANSWER AND
NEW. MATTER

“Sep/07/201 3 “ORDER
PRELIMINARY
OBJECTION

“Sep/07/201 8 “MOT/PET STAY

TAX SALE (NO
FEE)

te ee

“Jul/06/201 8 ORDER

_ACCOUNTING

MOTION TO SCHEDULE View

HEARING TO DETERMINE
PRELIMINARY OBJECTIONS
AND ORDER HEARING IS
SCHEDULED ON JANUARY
24, 2019

 

TO DEFT U Lock INCS NEW ‘View
MATTER

DEFT u LOCK INCS | View
AMENDED OBJECTIONS AND
RESPONSES TO THE
INTERROGATORIES

REQUESTS FOR

ADMISSIONS AND REQUEST

FOR PRODUCTION OF
DOCUMENTS AND EXHIBITS

A THROUGH Y NOT IMAGED

TO COMPLAINT FOR View
DECLATORY JDGMT AND
EQUITABLE ACTION TO

CONVEY TITLE TO QUIET

TITLE AND FOR AN

 

ORDER ‘SEPT 6 2018 THAT View
PRELIMINARY OBJECTIONS

ARE OVERRULED IN PART
SUSTAINED IN PART AND
STRICKEN IN PART AS SET

FORTH N236

~ AND ORDER AS SET FORTH View

“ORDER DEFTS PETITION iew
FOR PROTECTIVE ORDER IS
GRANTED AS SET FORTH

 

 

 
 

 

 

 

Jul/06/2018

Jul/06/2018

Jul/02/2018

Jun/13/2018

Jun/13/2018

May/23/2018

MOT/PET
PROTECTIVE
ORDER

MOT/PET COMPEL

RESPONSE

ANSWER
PRELIMINARY
OBJECTIONS

BRIEF IN
OPPOSITION TO
PRELIMINARY
OBJECTION

CERTIFICATE OF
SERVICE

DEFT U LOCK INCS PETITION View
PURSUANT TO

PENNSYLVANIA RULE OF

CIVIL PROCEDURE 4012A

FOR A PROTECTIVE ORDER

AND FOR A THIRTY (30) DAY
EXTENSION OF TIME TO

RESPOND TO THE PLFFS
DISCOVERY REQUESTS

DISCOVERY RESPONSE TO —~View

 

DEFTS OBJECTIONS TO
PLFFS DISCOVERY REQUEST
AND RESPONSE TO PLFFS
MOTION FOR PROTECTIVE
ORDER

TO DEFTS U LOCK INCS View

ANSWER TO PRELIMINARY
OBJECTIONS

DEFT U LOCK INCS ANSWER View
TO PRELIMINARY

OBJECTIONS BASED UPON
FAILURE TO CONFORM TO

RULE OF COURT AND FOR
INCLUSION OF SCANDALOUS

AND IMPERTINENT MATTER

AND INSUFFICIENT

SPECIFICITY IN PLEADING

 

DEFT ULOCKINCS BRIEF IN View
OPPOSITION TO

PRELIMINARY OBJECTIONS

BASED UPON FAILURE TO
CONFORM TO RULE OF

COURT AND FOR INCLUSION

OF SCANDALOUS AND
IMPERTINENT MATTER AND
INSUFFICIENT SPECIFICITY

IN PLEADING

OF SCHEDULING ORDER View

 

DATED MAY 17 2018

 

 
 

 

 

 

May/18/2018 SCHEDULING FILING BRIEFS N236 View |

ORDER
May/1 6/2018 OBJECTIONS - ~ AND RESPONSES TO THE View
INTERROGATORIES
REQUESTS FOR
ADMISSIONS AND REQUEST
FOR PRODUCTION OF
DOCUMENTS

May/14/2018 PRELIMINARY BASED UPON FAILURE TO. View
OBJECTIONS CONFORM TO RULE OF
COURT AND FOR INCLUSION
OF SCANDALOUS AND
IMPERTINENT MATTER AND
INSUFFICIENT SPECIFICITY
IN PLEADING AND BRIEF IN

 

SUPPORT
Apr/23/2018 NOTICE OF OF INTERROGATORI ES View
SERVICE REQUEST FOR ADMISSIONS
AND REQUEST FOR
PRODUCTION OF
DOCUMENTS DIRECTED TO
U LOCK INC
Apr/23/2018 OPPOSITION | “TO PRELIMINARY View
OBJECTIONS
Apr/23/2018 AMENDED TO COMPLAINT IN CIVIL View
ANSWER AND ACTION FOR DECLATORY
NEW MATTER JUDGMENT AND EQUITABLE
ACTION TO CONVEY TITLE
TO QUIET TITLE AND FOR AN
_ ACCOUNTING

Apr/19/2018 CERTIFICATE OF OF SCHEDULING ORDER» Vie

SERVICE
Apr/12/2018 SCHEDULING FILING BRIEF N236 iew
ORDER —

 

 

 
 

 

Apr/04/2018 “PRELIMINARY _
OBJECTIONS

“Mar/28/201 8 PRAECIPE
WITHDRAW
PRELIMINARY
OBJECTIONS

Mar!” 1 19/201 8 “ANSWER
COMPLAINT

Mar/1 6/201 8 “ORDER

‘Mar/16/2018 MOT/PET STRIKE
JUDGMENT (NO
FEE)

Mar/1 6/201 8 ‘SCHEDULING
ORDER

Mar/ 1 2/201 8 APPEARANCE.

ENTERED BY

Mar/08/2018 “JUDICIAL
REASSIGNMENT
FORM FROM

PRELIMINARY OBJECTIONS
BASED UPON FAILURE TO
CONFORM TO RULE OF
COURT AND FOR INCLUSION
OF SCANDALOUS AND
IMPERTINENT MATTER AND
INSUFFICIENT SPECIFICITY
IN PLEADING AND BRIEF iN
SUPPORT

AND BRIEF IN SUPPORT _

~ AND NEW MATTER TO
COMPLAINT IN CIVIL ACTION
FOR DECLARATORY
JUDGMENT AND EQUITABLE
ACTION TO CONVEY TITLE
TO QUIET TITLE AND FOR AN
ACCOUTING

THAT THE DEFAULT JDGMT

IN FAVOR OF PLFF AND
AGAINST DEFT U LOCK IS
STRIKEN AS SET FORTH

View

View

View

View

 

MOTION To STRIKE DEFAULT

FROM JUDGE SCHERER TO

JUDGMENT (NO FEE)

 

SCHEDULING ORDER MARCH
15, 2018 FILING BRIEF AS
SET FORTH N236

JOHN A TUMOLO. ESQ

JUDGE MARSILL

 

 

 

 

 
 

 

Mar/06/2018 ORDER RECUSAL ORDER RECUSAL THAT THE.

View

 

 

 

 

BY PUBLICATION

COURT ADMINISTRATORS
OFFICE SHALL REASSIGN
THIS CASE TO JUDGE
ANTHONY MARSILI AS SET
_FORTH N236
Mar/05/2018 “ANSWER “FOR DECLARATORY - iew
COMPLAINT JUDGMENT AND EQUITABLE
ACTION TO CONVEY TITLE
TO QUIET TITLE AND FOR AN
_ ACCOUNTING
Mar/05/2018 APPEARANCE J “ALLEN ROTH ESQ iew
ENTERED | BY
Mar/05/2018 BRIEF IN BRIEF IN ‘SUPPORT OF DEFT View
SUPPORT OF U LOCK INCS PRELIMINARY
PRELIMINARY OBJECTIONS TO THE
OBJECTIONS COMPLAINT
Mar/05/2018 PRELIMINARY _ “DEFT U Lock INCS~ iew
OBJECTIONS PRELIMINARY OBJECTIONS
TO THE COMPLAINT
Mar/05/2018 *MOT/PET OPEN *“MOT/PET OPEN OR STRIKE View
OR STRIKE JUDGMENT
JUDGMENT
Mar/02/2018 “APPEARANCE _ "DENNIS, D DEC COTTO ESQ. View
ENTERED BY
Feb/23/2018 *JUDGMENT EO. “JUDGMENT EO. DIE: View
DIE: JUDGMENT JUDGMENT
ENTERED/NOTICE ENTERED/NOTICE SENT
SENT
Feb/21/2018 PRAECIPE PRAECIPE REINSTATE View
REINSTATE COMPLAINT EO DIE:
COMPLAINT EO COMPLAINT REINSTATED
DIE: COMPLAINT
REINSTATED
Feb/21/2018 RETURN SERVICE OF PROCESS BY View

 

 

 
 

 

Jan/19/2018 PRAECIPE PRAECIPE REINSTATE
REINSTATE COMPLAINT EO DIE:
COMPLAINT EO COMPLAINT REINSTATED
DIE: COMPLAINT
REINSTATED

Jan/12/2018 MOTION/PETITION MOTION FOR SERVICE BY
PUBLICATION PURSUANT TO
RULE 430 AND ORDER THAT
DEFT U LOCK INC MAY BE
SERVED BY PUBLICATION IN
ACCORDANCE WITH PA
PRGP RULE 430

Jan/12/2018 *PRAECIPE INDEX *PRAECIPE INDEX LIS
LIS PENDENS PENDENS

=

Ss.

 

 

 

 
CERTIFICATE OF SERVICE

I certify that a true copy of the foregoing was mailed on May 23, 2022 to the following:

William Otto, Esquire
PO Box 701
Murrysville, PA 15668

I certify that a true copy of the foregoing was hand delivered to the Honorable Judge Harry
F, Smail at the Westmoreland Court of Common Pleas, Courtroom 2, Greensburg, PA
15601

10) dnd

" Roth, Esquire
